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                               <pageID>
Case 1:10-cv-01538-MJD-RLY Document 16 Filed 02/14/11 Page 2 of 13 PageID #:
                               <pageID>
Case 1:10-cv-01538-MJD-RLY Document 16 Filed 02/14/11 Page 3 of 13 PageID #:
                               <pageID>
Case 1:10-cv-01538-MJD-RLY Document 16 Filed 02/14/11 Page 4 of 13 PageID #:
                               <pageID>
Case 1:10-cv-01538-MJD-RLY Document 16 Filed 02/14/11 Page 5 of 13 PageID #:
                               <pageID>
Case 1:10-cv-01538-MJD-RLY Document 16 Filed 02/14/11 Page 6 of 13 PageID #:
                               <pageID>
Case 1:10-cv-01538-MJD-RLY Document 16 Filed 02/14/11 Page 7 of 13 PageID #:
                               <pageID>
Case 1:10-cv-01538-MJD-RLY Document 16 Filed 02/14/11 Page 8 of 13 PageID #:
                               <pageID>
Case 1:10-cv-01538-MJD-RLY Document 16 Filed 02/14/11 Page 9 of 13 PageID #:
                               <pageID>
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                                <pageID>
Case 1:10-cv-01538-MJD-RLY Document 16 Filed 02/14/11 Page 11 of 13 PageID #:
                                <pageID>
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                                <pageID>
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                                <pageID>
